Case 22-50073        Doc 474      Filed 06/20/22    Entered 06/20/22 13:31:16         Page 1 of 5




                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION


In re:                                             Case No. 22-50073 (JAM)

HO WAN KWOK,                                       Chapter 11

               Debtor.

 LOGAN CHENG f/k/a Shuiyan Cheng,                    Adv. Case No.

                         Plaintiff,
                                                     COMPLAINT OBJECTING TO
          v.                                         DISCHARGEABILITY PURSUANT TO
                                                     11 U.S.C. § 523(A)(6)
 HO WAN KWOK a/k/a Wengui Guo,


                         Defendant.



         Plaintiff-Creditor Logan Cheng f/k/a Shuiyan Cheng (“Plaintiff”), by and through his
attorneys, Randazza Legal Group, PLLC, brings the following Complaint objecting to discharge
of debt pursuant to 11 U.S.C. § 523(a)(6) against Defendant-Debtor Ho Wan Kwok a/k/a Wengui
Guo (“Defendant”) and, in support of his Complaint, alleges and states as follows:
                                         THE PARTIES

 1. Plaintiff-Creditor Logan Cheng f/k/a Shuiyan Cheng is a citizen of the State of California.
 2. Defendant-Debtor Ho Wan Kwok a/k/a Wengui Guo (“Debtor”, “Kwok”, or “Guo”) is an
     individual who purports to live in Fairfield County, Connecticut, but at all relevant times was,
     upon information and belief, a foreign national and a resident of the State of New York,
     residing at 781 Fifth Avenue, Apartment 1801, New York, NY 10022.
                                  JURISDICTION AND VENUE
 3. This Court has jurisdiction of this matter under 28 U.S.C. § 157 and 11 U.S.C. § 523. The
     claims for relief alleged in this complaint rise under Title 11 of the United States Code and
     are related to a case pending in the United States Bankruptcy Court for the District of



                                              22-50073
Case 22-50073      Doc 474      Filed 06/20/22     Entered 06/20/22 13:31:16         Page 2 of 5




   Connecticut (the “Bankruptcy Court”). The pending bankruptcy case to which the claims for
   relief alleged in this Complaint are related to In re Ho Wan Kwok, Bk Case No. 22-50073
   (the “Kwok Case”).
4. The determination of dischargeability is a core proceeding under 28 U.S.C. § 157(b).
5. Pursuant to 28 U.S.C. § 1409, venue is proper in the District of Connecticut, because the
   Kwok Case is pending in this district and division.
6. Defendant Ho Wan Kwok is a debtor in the Kwok Case.
                             FACTS COMMON TO ALL CLAIMS
7. On August 9, 2018, Guo filed a complaint in the Eighth Judicial District Court for Clark
   County, Nevada against Mr. Cheng for (1) defamation, (2) defamation per se, and

   (3) intentional infliction of emotional distress, Case No. A-18-779172-C (the “Frivolous
   Lawsuit”).
8. Guo amended his complaint twice, with the operative Second Amended Complaint being filed
   on April 18, 2019. Guo’s Second Amended Complaint brought the same claims as his first
   Complaint. (See Second Amended Complaint in Frivolous Lawsuit, attached as Exhibit 1.)
9. The allegations in the Frivolous Lawsuit were based on several statements Mr. Cheng, a
   Chinese pro-democracy activist, made on Twitter criticizing Mr. Guo’s reputation of being a

   Chinese dissident as unearned and stating that Mr. Guo had in fact undermined the political
   movement he claimed to support.
10. On June 14, 2019, Mr. Cheng filed his Anti-SLAPP Special Motion to Dismiss Under NRS
   41.660 (the “Anti-SLAPP Motion”) as to all of Debtor’s claims. (See Anti-SLAPP Motion,
   attached as Exhibit 2.)
11. On February 3, 2020, Mr. Cheng filed a Notice of Entry of Order giving notice that the district
   court granted Mr. Cheng’s Anti-SLAPP Motion, dismissing all of Mr. Guo’s claims against
   Creditor with prejudice under NRS 41.660. (See Anti-SLAPP Order, attached as Exhibit 3.)




                                            22-50073
Case 22-50073      Doc 474     Filed 06/20/22     Entered 06/20/22 13:31:16         Page 3 of 5




12. On July 22, 2020, Creditor had filed a suit against Debtor, who had been using the alias
   “Wengui Guo”, in the U.S. District Court for the Southern District of New York, Case No.
   1:20-cv-05678 (hereinafter “SDNY Case”).
13. The said SDNY Case assert claims for 1) Anti-SLAPP Action Pursuant to NRS 41.670(1)(c);
   2) Malicious Prosecution; and 3) Action on Foreign Judgment. Claim 3 was dismissed by
   stipulation on March 24, 2021, and Claim 2 was dismissed by stipulation on November 12,
   2021.
14. Debtor filed a voluntary petition for relief under Chapter 11 on February 15, 2022.
                                        COUNT ONE
       FOR DETERMINATION OF NON-DISCHARGEABILITY OF DEBT UNDER 11

                  U.S.C. § 523(A)(6) ARISING FROM N.R.S. 41.670(1)(c)
15. Each of the foregoing paragraphs are incorporated herein by reference.
16. The elements of a claim under NRS 41.670(1)(c) are simple. They are: (1) did the plaintiff
   file a Special Motion to Dismiss under NRS 41.660 in a prior action?; and (2) did the court in
   that action grant the Special Motion to Dismiss? If the answer to both questions is “yes,” then
   liability under NRS 41.670(1)(c) is conclusively established.
17. Mr. Cheng filed a Special Motion to Dismiss under NRS 41.660 in the Frivolous Lawsuit.

   (See Exhibit 2.)
18. The district court in the Frivolous Lawsuit granted Mr. Cheng’s Special Motion to Dismiss
   and dismissed all of the claims against Mr. Cheng in the Frivolous Lawsuit with prejudice.
   (See Exhibit 3.)
19. Mr. Cheng suffered damages as a result of Guo’s filing and maintaining the Frivolous
   Lawsuit, including, but not limited to, attorneys’ fees and costs in defending himself from the
   Frivolous Lawsuit.
20. Additionally, due to Guo’s unwillingness to pay amounts awarded to Mr. Cheng under the
   Anti-SLAPP statute, he had to incur additional costs and attorneys’ fees.




                                           22-50073
Case 22-50073       Doc 474      Filed 06/20/22      Entered 06/20/22 13:31:16          Page 4 of 5




21. Guo is liable for these damages, as he was primarily responsible for the decision to file and
    maintain the Frivolous Lawsuit.
22. As set forth above, the Frivolous Lawsuit was filed by Defendant against Plaintiff based on
    his alleged exercise of free speech rights in connection with a matter of public concern without
    probable cause, constituting a SLAPP suit under N.R.S. 41.660.
23. Having filed a SLAPP suit, Defendant is liable to Plaintiff for damages pursuant to NRS
    41.670(1)(c).
24. Guo’s filing and maintenance of the Frivolous Lawsuit in violation of the Nevada anti-SLAPP
    law was willful.
25. Guo’s filing and maintenance of the Frivolous Lawsuit in violation of the Nevada anti-SLAPP

    law was malicious.
26. As a direct and proximate result of the foregoing, Plaintiff suffered damages not presently
    ascertained, but believed to be at least $5,000,000.
27. In view of the foregoing, Plaintiff therefore seeks an order under 11 U.S.C. § 523(a)(6)
    determining that (1) Plaintiff is entitled to actual, presumed, punitive, and other damages in
    an amount to be specifically determined at trial; and (2) that said liability is non-dischargeable.
                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

       1. For actual, presumed, and punitive damages in an amount to be specifically
           determined at trial; and
       2. For costs, disbursements, fees, and interest as authorized by state and Federal Law
           and Rules;
       3. For a decree that all debts determined to be owing by Defendant to Plaintiff which are
           the subject of this action are deemed and adjudicated to be non-dischargeable
           pursuant to 11 U.S.C. § 523(a)(6); and
       4. For such other and additional remedies as the Court may deem just and proper.




                                              22-50073
Case 22-50073    Doc 474     Filed 06/20/22   Entered 06/20/22 13:31:16         Page 5 of 5




     Dated: June 20, 2022.                     Respectfully submitted,
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                                       22-50073
